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                    IN THE UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF MARYLAND

 UNITED STATES                                      :
                                                    :
                                                    :
         v.                                         :          Case No. PJM-22-0209
                                                    :
 NICHOLAS ROSKE                                     :
                                                    :
         Defendant                                  :

                               MOTION TO SUPPRESS STATEMENTS

        Nicholas Roske, through undersigned counsel, hereby moves this Honorable Court

pursuant to Rule 12(b)(3) of the Federal Rules of Criminal Procedure to suppress any and all

statements, admissions, and confessions (“statements”) allegedly given by Mr. Roske, whether

oral, written or otherwise recorded, which the government proposes to use as evidence at trial.

In support whereof, Mr. Roske alleges as follows:

        1.      Mr. Roske is charged in one-count indictment with Attempt to Assassinate a

Justice of the United States, in violation of 18 U.S.C. § 351(c).

        2.      Discovery indicates that Mr. Roske allegedly made certain statements to law

enforcement. This motion seeks to exclude all alleged statements which the government may

seek to introduce at trial, whether or not such statements are yet known to counsel or are

specified herein. However, without limitation, the following alleged statements are specifically at

issue: Statements allegedly made by Mr. Roske to law enforcement officials on June 8, 2022, both

at the location of his arrest and later at a police station.

        3.      Mr. Roske is entitled to a hearing regarding the voluntariness of any alleged

statements in accordance with the provisions of 18 U.S.C. § 3501 and the principles set forth in

United States v. Inman, 352 F.2d 954 (4th Cir. 1965). If, at such hearing, the government fails to

establish that such statements were not obtained in violation of Mr. Roske’s privilege against


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self-incrimination, nor his right to counsel as guaranteed by the Fifth and Sixth Amendments to

the United States Constitution, nor the Supreme Court’s holding in Miranda v. Arizona, 384 U.S.

436 (1966), and were not otherwise involuntary, see Mincey v. Arizona, 437 U.S. 385 (1978);

McNabb v. United States, 318 U.S. 332 (1943), such statements should be suppressed.

       WHEREFORE, Mr. Roske moves that all statements, admissions and confessions which

the government proposes to use as evidence against him, whether oral, written or otherwise

recorded, be suppressed.

                                                   Respectfully submitted,
                                                   James Wyda
                                                   Federal Public Defender
                                                    for the District of Maryland

                                                   ___/s/________________
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